      Case 1:20-cv-00292-JPW-JFS Document 111 Filed 03/22/21 Page 1 of 10




              IN THE UNITED STATESDISTRICT COURT
            FOR THE M IDDLE DISTRICT OFPENNSYLVANIA

PACE-O-M ATIC,INC.
                 ,       :
                         :
            Plainti
                  ff,    :                NO.20-CV-292
                         :
    v.                   :                JUDGE W ILSON
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ECKERT,SEAM ANS,CHERIN & :
M ELLOTT,LLC,            :
                         :                ELECTRONICALLY FILED
            Defendant.   :

       PLAINTIFF’SM EM ORANDUM OFLAW IN OPPOSITION TO
            DEFENDANT’SM OTION TO DISM ISSASM OOT
             M OTION FOR PRELIM INARY INJUNCTION

                              INTRODUCTION

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       Case 1:20-cv-00292-JPW-JFS Document 111 Filed 03/22/21 Page 4 of 10




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       Case 1:20-cv-00292-JPW-JFS Document 111 Filed 03/22/21 Page 5 of 10




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Holding Corp. v. Liberation Investments, LP,No.05-841,2005W L3525679(D.
Del.Dec.22,2005)(revised proxystatementwit        hful ldiscl
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J.D. Pflaumer, Inc. v. United States Dep’t of Justice,450F.Supp.1125(E.     D.Pa.
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      Case 1:20-cv-00292-JPW-JFS Document 111 Filed 03/22/21 Page 6 of 10




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Dougherty v. Philadelphia Newspapers, LLC,85A.   3d 1082,1094(Pa.Super.
2014)(Donohue,J.  ,concurri ng)(observingthat“theexistenceofanet  hicalscreen
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    Case 1:20-cv-00292-JPW-JFS Document 111 Filed 03/22/21 Page 8 of 10




Local Union 1332 v. Int’l Longshoremen’s Ass’n,909F.Supp.287,293(E.
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   Case 1:20-cv-00292-JPW-JFS Document 111 Filed 03/22/21 Page 9 of 10




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                                       /s/DonnaA.W alsh
                                       DanielT.Brier
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                                       AttorneysforPlai
                                                      ntiff,
                                       Pace-O-M ati
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M yers,Brier& Kel
                ly,LLP
425SpruceStreet,Suite200
Scranton,PA 18503
(570)342-6100

Date:M arch22,2021




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   Case 1:20-cv-00292-JPW-JFS Document 111 Filed 03/22/21 Page 10 of 10




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                      Abraham C.Reich,Esquire
                      RobertS.Ti  ntner,Esquire
                      FoxRothschi  ld LLP
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                      Philadelphia,PA 19103-3291

                      DennisA.W hitaker,Esquire
                      HawkeM cKeon& Sni  scak,LLP
                      100Nort hTenthStreet
                      Harrisburg,PA 17101

                      GeorgeA.Bibi kos,Esquire
                      5901JonestownRoad,#6330
                      Harrisburg,PA 17112

                                             /s/DonnaA.W alsh
                                             DonnaA.W alsh
